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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

BRITTANEY BAILEY,                                  §
on behalf of herself and all others                §
similarly situated,                                §
                                                   §
                    Plaintiff,                     §
                                                   §      CIVIL ACTION NO: 2:17-cv-77
       vs.                                         §
                                                   §
HOWBRO INVESTMENTS, LTD                            §
D/B/A BUFFALO WILD WINGS;                          §
BWWGP, INC.; KENDALL HOWARD;                       §
LUBBOCK BWW MGMT, LLC;                             §
WOLFFORTH WINGS, LTD D/B/A                         §
BUFFALO WILD WINGS; HOW NO. 1,                     §
INC.; LUBBOCK WILD WINGS, LTD                      §
D/B/A BUFFALO WILD WINGS;                          §
MIDLAND WINGS, LTD D/B/A BUFFALO                   §
WILD WINGS; PERMIAN BWW                            §
MGMT, LLC; ODESSA WINGS,                           §
LTD D/B/A BUFFALO WILD WINGS;                      §
AMARILLO WILD WINGS, LTD D/B/A                     §
BUFFALO WILD WINGS; AMARILLO                       §
BWW MANAGEMENT, LLC; and EAST                      §
AMARILLO WINGS, LTD; D/B/A                         §
BUFFALO WILD WINGS;                                §
                                                   §
                                                   §
                    Defendants.                    §


                             JOINT NOTICE OF SETTLEMENT

        The parties in the above styled and numbered case have participated in mediation and

agreed to settlement. Settlement documents are being finalized and Plaintiff intends to file a

stipulation of dismissal no later than August 15, 2018.




JOINT NOTICE OF SETTLEMENT                                                                       1
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JOINT NOTICE OF SETTLEMENT                                                      2
